                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                                April 23, 2015
                              No. 10-14-00247-CR
                       EX PARTE ALEJANDRO CHAVEZ RAMIREZ
                                       
                                center-4254500
                        From the 18[th] District Court
                             Johnson County, Texas
                            Trial Court No. 47308-A
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issues raised and finds no reversible error is presented.  Accordingly the trial court's Order Denying Art. 11.072 V.A.C.C.P. Application for Writ of Habeas Corpus as Frivolous, signed on July 17, 2014, is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK

						By:          3040380-17145000		
							Deputy Clerk

